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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                   MDL NO. 2924
   PRODUCTS LIABILITY                                            20-MD-2924
   LITIGATION
                                                JUDGE ROBIN L. ROSENBERG
                                      MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO:

         20-cv-80870-RLR
         20-cv-80875-RLR
         20-cv-80876-RLR
         20-cv-80877-RLR
         20-cv-80878-RLR
         20-cv-80879-RLR
         20-cv-80880-RLR
         20-cv-80882-RLR
         20-cv-80883-RLR
         20-cv-80895-RLR
         20-cv-80901-RLR
         20-cv-80902-RLR
         20-cv-80912-RLR
         20-cv-80930-RLR
         20-cv-80932-RLR
         20-cv-80935-RLR
         20-cv-80936-RLR
         20-cv-80941-RLR
         20-cv-80953-RLR
         20-cv-80956-RLR
         20-cv-80957-RLR
         20-cv-80959-RLR
         20-cv-80968-RLR
         20-cv-80969-RLR
         20-cv-80970-RLR
         20-cv-80978-RLR
         20-cv-80986-RLR
         20-cv-80991-RLR
         20-cv-22358-RLR
         20-cv-22374-RLR
         20-cv-22399-RLR
         20-cv-22513-RLR
         20-cv-22541-RLR
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          20-cv-14177-RLR

           ORDER OF CONSOLIDATION AND ADMINISTRATIVE CLOSE-OUT

          THIS CAUSE is before the Court sua sponte. The above-styled cases are consolidated

   in MDL proceeding 20-MD-2924 for all pretrial purposes, and the parties are directed to submit

   all filings in the MDL action. It light of the consolidation of all cases in the MDL action, it is

   ORDERED AND ADJUDGED that the Clerk of the Court shall mark the following cases as

   CLOSED for administrative purposes only:

          20-cv-80870-RLR
          20-cv-80875-RLR
          20-cv-80876-RLR
          20-cv-80877-RLR
          20-cv-80878-RLR
          20-cv-80879-RLR
          20-cv-80880-RLR
          20-cv-80882-RLR
          20-cv-80883-RLR
          20-cv-80895-RLR
          20-cv-80901-RLR
          20-cv-80902-RLR
          20-cv-80912-RLR
          20-cv-80930-RLR
          20-cv-80932-RLR
          20-cv-80935-RLR
          20-cv-80936-RLR
          20-cv-80941-RLR
          20-cv-80953-RLR
          20-cv-80956-RLR
          20-cv-80957-RLR
          20-cv-80959-RLR
          20-cv-80968-RLR
          20-cv-80969-RLR
          20-cv-80970-RLR
          20-cv-80978-RLR
          20-cv-80986-RLR
          20-cv-80991-RLR
          20-cv-22358-RLR
          20-cv-22374-RLR

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          20-cv-22399-RLR
          20-cv-22513-RLR
          20-cv-22541-RLR
          20-cv-14177-RLR

          DONE and ORDERED in Chambers at West Palm Beach, Florida, this 25th day of

   June, 2020.



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                                               ROBIN L. ROSENBERG
                                               UNITED STATES DISTRICT JUDGE
   Copies furnished to Counsel of Record




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